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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


EDWARD DALE,

       Petitioner,

vs.
                                                           Crim. Case No. 92-CR-81127-32
UNITED STATES OF AMERICA,
                                                                        HON. AVERN COHN
     Respondent.
_______________________________/

              ORDER DENYING PETITIONER’S “LETTER MOTION”
                                 AND
      TRANSFERRING CASE TO COURT OF APPEALS FOR THE SIXTH CIRCUIT

                                              I.

       This is a criminal case. It has a long procedural history complicated by

Petitioner’s numerous filings. In 1995, Petitioner was convicted of (1) conspiracy to

possess with intent to distribute and to distribute cocaine and cocaine base, in violation

of 21 U.S.C. § 846, (2) intentional killing in furtherance of a (CCE), aiding and abetting,

in violation of 21 U.S.C. § 848(e)(1)(A) and 18 U.S.C. § 2 (a CCE murder), and (3) use

or carrying a firearm in relation to a drug trafficking crime, in violation of 18 U.S.C. §

924(c). On April 16, 1996, Petitioner was sentenced to life imprisonment plus 25 years.

Petitioner filed a timely appeal to the Court of Appeals for the Sixth Circuit where his

conviction and sentence were upheld. See United States v. Polk, Nos. 96-1492, 96-

1534, 96-1512, 96-1710, 96-1533, 1999 WL 397922 (6th Cir. June 2,

1999)(unpublished). The Sixth Circuit also denied Petitioner’s motions for rehearing

and rehearing en banc. See Orders filed on August 23, 1999 and September 3, 1999 in
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United States v. Polk, Ct. of Appeals Case Nos. 96-1492, 96-1534, and 96-1533. The

United States Supreme Court denied a writ of certiorari. See Order filed on April 17,

2000 in United States v. Polk, Sup. Ct. Case. No. 99-7188. Thereafter, Petitioner was

appointed counsel in order to bring a motion under 28 U.S.C. § 2255. See Order

Granting Motion to Appoint Counsel, filed March 21, 2001.

       Petitioner then filed the a motion under 28 U.S.C. § 2255 claiming, inter alia, that

his conviction was unconstitutional in light of United States v. Richardson, 526 U.S. 813

(1999). The Court denied the motion. See Memorandum and Order filed July 10, 2001.

Reconsideration was denied on August 8, 2001. A certificate of appealability was

denied on September 13, 2001. The Sixth Circuit dismissed the appeal on January 29,

2002. The Supreme Court denied certiorari on December 11, 2002.

                                              II.

       On March 11, 2005, Petitioner filed a letter with the Court “in lieu of a formal

motion” in which he states he joins in the Rule 60(b) filing by his co-defendant John

Gordon. As best as could be gleaned from the co-defendant’s papers, Petitioner sought

relief from the Court’s evidentiary ruling at trial on the grounds that it violates the

Supreme Court’s decision in Crawford v. Washington, 541 U.S. 31 (2004), issued years

after Petitioner’s trial. The Court construed the letter as a motion under Rule 60(b) and

transferred the case to the Court of Appeals for the Sixth Circuit based on the holding in

Abdur’Rahman v. Bell, 392 F.3d 174 (6th Cir. 2004) for a for a determination of whether

Petitioner is entitled to a certificate of authorization to file a successive motion to vacate

sentence under 28 U.S.C. § 2255. See Order filed May 25, 2005. Petitioner moved for

reconsideration. The Court granted the motion on the grounds that it must give

Petitioner notice of its intent to recharacterize Petitioner’s motion as a second motion



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under § 2255 and therefore gave him an opportunity to amend or withdraw the motion.

See Order filed May 25, 2005. Petitioner failed to take any action.

       Nearly nine months later, on February 27, 2006, Petitioner filed a motion under

Rule 60(b), rasing the issues of whether the indictment was defective, whether the

Court had subject matter jurisdiction, and whether there has been a fraud upon the

Court. All of these issues were presented, in some form or another, in Petitioner’s prior

filings and all go to the constitutionality of his conviction. The Court therefore concluded

that Petitioner’s motion was a second motion under § 2255 and transferred it to the

Court of Appeals. See Order filed February 28, 2006.

       Petitioner then filed a motion for clarification and a motion to withdraw his Rule

60(b) motion. The Court denied the motions on the grounds that the case was before

the Court of Appeals. See Order filed March 20, 2006. Petitioner then filed a motion to

withdraw his appeal in the Court of Appeals, which was granted. See Order by Court of

Appeals filed March 27, 2006.

       On June 2, 2006, Petitioner filed the instant “letter motion” to which he attached a

Rule 60(b) motion. Again, he raises claims of whether the indictment was defective,

whether the Court had subject matter jurisdiction, and whether there has been a fraud

upon the Court. Petitioner asks that the Court grant his letter motion and consider the

merits of the attached Rule 60(b) motion.

                                            III.

       In In re Abdur'Rahman, 392 F.3d 174 (6th Cir.2004) (en banc), the Court of

Appeals held that in cases filed after the effective date of the Antiterrorism and Effective

Death Penalty Act (“AEDPA”), “[in] which the factual predicate in support of the motion

attacks the manner in which the earlier habeas judgment was procured and is based on



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one or more of the grounds enumerated in Rule 60(b),” this court may consider the

claim as a motion under Rule 60(b) instead of dismissing it as a second or successive

habeas petition. Abdur'Rahman, 392 F.3d at 177.

       In Gonzalez v. Crosby, --- U.S. ----, 125 S.Ct. 2641, 162 L.Ed.2d 480 (2005),

decided after Abdur'Rahman, the Supreme Court held that Rule 60(b) remains viable in

the habeas context only to the extent it is “not inconsistent with” AEDPA and other

applicable federal statutory provisions and rules. Gonzalez, 125 S.Ct. at 2646.

Gonzalez also held that a habeas petitioner's filing that “seeks vindication of” a federal

habeas claim is, if not in substance a habeas corpus application, “at least similar

enough that failing to subject it to the same requirements would be ‘inconsistent with’ ”

the AEDPA-amended habeas statutes. Id. at 2647. Finally, Gonzalez held that “[i]f

neither the [Rule 60(b) ] motion itself nor the federal judgment from which it seeks relief

substantively addresses federal grounds for setting aside the movant's state conviction,

allowing the motion to proceed as denominated creates no inconsistency with the

habeas statute or rules.” Id. at 2648. Given that Gonzalez is a Supreme Court case

decided after Abdur'Rahman, and that the Supreme Court vacated and remanded

Abdur’Rahman to the Court of Appeals in light of Gonzalez, see 125 S. Ct. 2991 (June

28, 2005), Gonzales controls the analysis of Petitioner’s Rule 60(b) motion. See Post v.

Bradshaw, 422 F.3d 419 (6th Cir. 2005).

       A Rule 60(b) motion is a second or successive habeas petition when it “seeks

vindication of” or “advances” one or more “claims.” Gonzalez, 125 S.Ct. at 2647-48. A

“claim” is “an asserted federal basis for relief from a state court's judgment of

conviction,” and “[a] motion can AAA be said to bring a ‘claim’ if it attacks the federal

court's previous resolution of a claim on the merits.” Id.



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       Petitioner’s Rule 60(b) motion raises claims previously considered and rejected,

in some form or another, during Petitioner’s direct appeal or subsequent § 2255

proceedings. Petitioner continues to challenge the constitutionality of his conviction.

He cannot use Rule 60(b) to circumvent the requirements for filing a second § 2255

motion. The Court can only again conclude that Petitioner’s Rule 60(b) is a second or

successive motion under § 2255.

       Where, as here, a second motion to vacate sentence is erroneously filed with the

district court, the district court is required to transfer the motion to the court of appeals

under 28 U.S.C. § 1631. In Re Sims, 111 F.3d 45, 47 (6th Cir. 1997). Under the

AEDPA, a district court does not have jurisdiction to entertain a successive

post-conviction motion or petition for writ of habeas corpus in the absence of an order

from the court of appeals authorizing the filing of such a successive motion or petition.

Ferrazza v. Tessmer, 36 F. Supp. 2d 965, 971 (E.D. Mich. 1999).

       Accordingly, Petitioner’s motion is DENIED. This matter is TRANSFERRED to

the Court of Appeals for the Sixth Circuit under 28 U.S.C. § 1631 for a determination of

whether Petitioner is entitled to a certificate of authorization to file a successive motion

to vacate sentence under 28 U.S.C. § 2255. In light of the record in which the Court

previously notified Petitioner of its intent to characterize his 60(b) motion as a motion

under § 2255, the Court finds that Petitioner has been given adequate notice of the

Court’s intentions.

       SO ORDERED.


Dated: June 5, 2006                          s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE




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                                   Proof of Service

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 5, 2006, by electronic and/or ordinary mail.


                                         s/Julie Owens
                                        Case Manager
                                        (313) 234-5160




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